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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



MARIAN T. MOSS,
                      Plaintiff,                         CIVIL ACTION FILE

vs.                                                      NO. 1: 13-cv-1319-RWS

DEKALB COUNTY BOARD OF HEALTH, et
al.,
              Defendants.


                                     JUDGMENT

       This action having come before the Court, Honorable Richard W. Story, United

States District Judge on the Court’s Order of August 22, 2013, directing plaintiff to file an

amended complaint. To date, plaintiff has yet to file an amended complaint and plaintiff

having failed to comply, it is

       Ordered and Adjudged that the action be dismissed for failure to follow a lawful

Order of the Court.

        Dated at Atlanta, Georgia, this 4th day of October, 2013.



                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                   By:   s/Denise D.M. McGoldrick
                                                         Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
October 4, 2013
James N. Hatten
Clerk of Court

By: s/Denise D.M. McGoldrick
      Deputy Clerk
